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Attorneys for Defendants
HFN, Inc. and Kumar Shiralagi

                          UNITED STATES DISTRICT COURT

                      DISTRICT OF UTAH, CENTRAL DIVISION

ALLAN MILLER,                                     DEFENDANTS HFN INC. AND
                                                  KUMAR SHIRALAGI’S OPPOSITION
                            Plaintiff,            TO PLAINTIFF’S MOTION FOR IN-
       vs.                                        PERSON ORAL ARGUMENT ON
                                                  DEFENDANTS’ MOTIONS TO
HFN, INC., a Delaware Corporation, d/b/a as       DISMISS
NANOHEAL BY HFN INC.; KALAARI
CAPITAL ADVISORS PRIVATE LIMITED, an              Case No. 2:23-cv-00733-CMR
Indian Company; SRIDHAR SANTHANAM;
KUMAR SHIRALAGI; PAVAN VAISH; and                 Magistrate Judge Cecilia M. Romero
VANI KOLA,

                            Defendants.

       Defendants HFN, Inc. and Kumar Shiralagi (“Defendants”) hereby oppose Plaintiff’s

Motion for In-Person Oral Argument on Defendants’ Motions to Dismiss (the “Oral Argument

Motion”). There is no good cause for consuming the Court’s and Defendants’ time and resources




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with unnecessary in-person oral argument regarding the legal issues raised by Defendants’ pending

Motions to Dismiss (the “MTDs”). Furthermore, if the Court believes that oral argument would

assist the Court in addressing the MTDs, then Defendants respectfully request that the Court

conduct oral argument by remote videoconference (e.g., by Zoom or another comparable

platform).

                                            ARGUMENT

       Plaintiff’s Oral Argument Motion is just the latest example of his serial litigation tactics

designed to increase the costs and burdens of defending this meritless lawsuit, and to consume the

Court’s and Defendants’ time with unnecessary filings and proceedings. The Court should deny

Plaintiff’s Oral Argument Motion entirely and rule on the MTDs on the papers alone.

       A party requesting oral argument must show good cause justifying the request. DUCivR

7-1(g). Thus, a litigant is not entitled to oral argument – much less in-person oral argument – and

to that end, courts in this District regularly decide motions, including motions to dismiss, on the

briefs alone. See, e.g., Hope Int'l Hospice, Inc. v. Net Health Sys., Inc., No. 2:22-CV-00656-DBB-

DBP, 2023 WL 2433642, at *1 (D. Utah Mar. 9, 2023) (granting 12(b)(6) motion without oral

argument); Wilson Elecs., LLC v. Cellphone-Mate, Inc., No. 4:18-CV-78-DB, 2019 WL 1755428,

at *1 (D. Utah Apr. 19, 2019) (granting 12(b)(6) motion in part without oral argument).

       Plaintiff baldly asserts that good cause exists for oral argument because the “fact pattern of

the case is complex[,]” and he further speculates and presumes that “the Court will have questions

and desire clarification on many of these issues,” including because certain issues supposedly

received short shrift in the parties’ briefing. In addition, Plaintiff contends that, because of his pro




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se status, he lacks “access to a full-time IT staff nor a dedicated commercial network connection[,]”

which supposedly makes “technical issues” more likely in the event of a remote hearing.

       All of these professed justifications ring hollow.

       First, the MTDs raise purely legal issues concerning the sufficiency of the First Amended

Complaint (“FAC”), including: (i) whether a stockholder can assert fiduciary duty claims directly

against a corporation; (ii) whether a stockholder can allege conversion based on the purported

misuse of corporate assets; (iii) whether Plaintiff’s claims are substantively derivative and

therefore incapable of being maintained by a pro se litigant; (iv) whether Plaintiff’s fraud claim is

barred by res judicata, the parties’ prior settlement agreement, and the statute of limitations; and

(v) whether Plaintiff has alleged sufficient facts to support any claim. (ECF Nos. 15-16). The

Court is more than capable of addressing these legal issues based on the parties’ extensive briefing,

and it should not countenance Plaintiff’s obvious intention to use oral argument as an opportunity

to expound on the alleged “facts” of this case, including “facts” outside of the four corners of the

FAC.

       Second, Plaintiff had every opportunity to brief the issues deemed important in his

Oppositions to the MTDs Indeed, Plaintiff has now briefed these issues on multiple occasions by

virtue of his prior California action.

       Like every litigant, Plaintiff must work within the page limits prescribed by the rules of

this Court. Oral argument is not an opportunity for a do-over, nor is it a vehicle for making new

arguments for the first time that were not included in Plaintiff’s Oppositions. Once again, Plaintiff

effectively admits his intention to misuse oral argument, and the Court should not allow him to do

so. See Bishop v. United States; Internal Revenue Serv., No. 2:22-CV-00340-DBB-DBP, 2023



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WL 2164269, at *2 (D. Utah Feb. 22, 2023) (explaining that “oral argument is permissive,” not

mandatory, and rejecting argument that oral argument was needed to address arguments not

addressed in briefing).

       Third, Plaintiff’s assertions about his alleged IT limitations are unconvincing. To the

extent the Court is inclined to hold oral argument at all, it should only do so via Zoom. Plaintiff

does not need a “full-time IT staff” or “dedicated commercial network connection” to

participate – instead, he just needs an Internet connection. It strains belief that Plaintiff is willing

and able to arrange for travel from California to Utah to attend in-person oral argument, but he is

somehow unable to participate in a Zoom hearing remotely. Tellingly, Plaintiff does not claim,

and has not provided any indication, that he lacks Internet access – nor could he credibly make

such a claim, having repeatedly communicated with Defendants’ counsel through his personal

email account.

       In sum, Plaintiff has not offered any good cause for oral argument, let alone an in-person

hearing in Utah. To the contrary, he has tipped his hand and revealed that he intends to use oral

argument to raise facts and arguments that (i) go beyond his FAC and Opposition papers, and that

(ii) are manifestly irrelevant to the legal issues raised by the MTDs.




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                                       CONCLUSION

        For the foregoing reasons, the Court should deny Plaintiff’s Oral Argument Motion

entirely. To the extent that the Court believes oral argument is appropriate, however, any such

hearing should be held remotely via Zoom or other comparable videoconferencing platform.1

Dated: May 28, 2024                 TROUTMAN PEPPER HAMILTON SANDERS LLP

                                    By: /s/ Nathan R. Marigoni
                                       Nathan R. Marigoni (Utah SBN 14885)
                                       Matthew H. Ladner (pro hac vice)
                                       William M. Taylor (pro hac vice)
                                       Attorneys for Defendants
                                       HFN, Inc. and Kumar Shiralagi




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  There similarly is no reason for oral argument on any of the other motions now pending before
the Court.



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